        Case 1:23-cr-00323-PX             Document 179   Filed 02/17/25     Page 1 of 9



                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                         *
                                                  *
                                                  *
                       v.                         *
                                                  *         Criminal No. 23-cr-323-PX
                                                  *
 MICHAEL VERZALENO, JR., ET AL.,                  *
                                                  *
                            Defendants.           *

             MOTION BY DEFENDANTS TO CONTINUE SENTENCING DATE

       Defendants Michael G. Verzaleno, Jr., Michael G. Verzaleno, Sr., and Susan P. Carrano (the

“Defendants”), by and through their undersigned counsel respectfully move this Court pursuant to

Fed. R. Crim. P. 32(b) and Local Rule 213 for an order continuing the sentencing date currently

set for February 19, 2025 to allow Defendants to review necessary discovery that the government,

again, failed to timely produce. In support of this Motion, Defendants respectfully submit the

following.

       1.      This case was originally assigned to Judge Chasanow. Her Honor had scheduled

trial for September 9, 2024.

       2.      On September 6, the Friday before the Monday trial, the government revealed that

it had not produced complete Rule 16 discovery. It was not a stray file or two that was missing.

Instead, it was tens of thousands of pages of heartland Rule 16 discovery that the government had

simply failed to produce. This was after the government had represented to the Court and

Defendants that discovery was complete.

       3.      Judge Chasanow adjourned the trial to December 2, and the case was transferred to

Your Honor.
        Case 1:23-cr-00323-PX          Document 179        Filed 02/17/25    Page 2 of 9



       4.      Notwithstanding the government’s previous discovery violations, the government

had still not provided all Rule 16 discovery to Defendants on November 5, 2024—just three weeks

before the new trial date. Defendants sent a letter to the government enumerating the missing

items on November 5. See Exhibit A. The most glaring was Eugene DiNoto’s cell phone. As the

Court knows, DiNoto is the hub of the conspiracy and the government’s chief cooperating witness.

       5.      The government failed to respond to Defendants’ November 5 letter. Several weeks

later, Defendants entered guilty pleas. Pursuant to the plea agreements, the government and

Defendants agreed that between 2013 and 2020, Defendants overbilled Citrus & Allied

approximately $3.5 million, or about $500,000 per year.

       6.      The amount of the overbillings was always hotly contested. There was no clear

record of the amount that was overbilled. The government included a very specific number in the

indictment, $9,887,793, but never explained how that number was derived.               Defendants

subpoenaed Citrus & Allied for its records, but it too had no loss amount specific to Defendants.

To the contrary, Citrus & Allied’s original investigation found no loss attributable to Defendants.

Defendants shared their analysis with the government, which showed a loss considerably less than

$3.5 million, but the government refused to accept it (even though it offered no alternative

analysis). Ultimately, the parties agreed to a $3.5 million loss.

       7.      Defendants’ sentencings were scheduled for February 19, 2025.

       8.      On February 4, in advance of the sentencings, Defendants re-sent their November

5 discovery letter to the government asking for a response in advance of the sentencings. The

government ignored the letter.




                                                  2
        Case 1:23-cr-00323-PX         Document 179        Filed 02/17/25      Page 3 of 9



       9.      On February 11, the Court scheduled a conference with the parties to discuss

Defendants’ adjournment request. During that conference, Defendants raised the still missing

discovery, and the Court directed the parties to meet-and-confer.

       10.     Following the call, the parties met, and the government agreed to produce DiNoto’s

cell phone to Defendants. It did so begrudgingly, claiming that the phone was irrelevant even

though the government conceded it had never looked at the phone and does not know what is on

it.

       11.     The phone was received by Mr. Verzaleno, Jr.’s counsel on Friday morning.

Counsel spent the better part of the day trying to access it, but was unable. Defendants immediately

alerted the government to the problem and asked for the information in a different format. In a

letter filed Sunday evening, the government directed Defendants to purchase a docking device to

access DiNoto’s phone or, alternatively, wait until Monday morning. See Exhibit B.

       12.     Still today, Defendants do not know whether DiNoto used the phone during the

conspiracy or after; if he used it after, whether it nevertheless has communications and information

contemporaneous with the conspiracy; or how much information is on the phone. The government

does not know either. See id. (“I was told by the case agent that the cell phone taken from DiNoto

was not the same one believed to have been used during the conspiracy with your client.”)

(emphasis added).

       13.     On Friday, the government also submitted a letter from Citrus & Allied. In it, Citrus

& Allied claims a loss of $5.6 million attributable to Defendants. Despite innumerable discovery

requests to the government, and a subpoena to Citrus & Allied, Defendants first learned of this

claimed loss amount a few days before sentencing with no real explanation.




                                                 3
        Case 1:23-cr-00323-PX          Document 179         Filed 02/17/25       Page 4 of 9



       14.     The government’s failure to timely produce DiNoto’s cell phone and its equally late

disclosure of Citrus & Allied’s claimed loss, which amount is materially different from the loss

amount the government agreed to, requires the sentencings to be adjourned.

       15.     Fed. R. Crim. P. 32(b) provides that the Court “must impose sentence without

unnecessary delay,” but permits adjournment of sentencing deadlines “for good cause.” There is

good cause here. Defendants need DiNoto’s phone and more information on Citrus & Allied’s

claimed loss amount before they can proceed with the sentencings.

       16.     It is well established that the government’s obligation to disclose evidence

favorable to an accused applies to evidence that can impact a defendant’s sentencing. Brady itself

held that due process is violated when the government fails to provide evidence that “is material

either to guilt or to punishment…” Brady v. Maryland, 373 U.S. 83, 87 (1963) (emphasis added).

For decades, courts have consistently applied the government’s obligation of disclosure to

evidence that is material to determining a defendant’s sentence. See Cone v. Bell, 556 U.S. 452,

473, 475 (2009) (holding that “[b]ecause the evidence suppressed at Cone’s trial may well have

been material to the jury’s assessment of the proper punishment in this case, we conclude that a

full review of the suppressed evidence and its effect is warranted.”) (emphasis added); Basden v.

Lee, 290 F.3d 602, 611 (4th Cir. 2002) (“In Brady itself, the Supreme Court expressly stated that

its holding applied not only to suppression of materials at the guilt phase of a trial, but also at the

punishment phase.”); United States v. White, 238 F.3d 537, n. 2 (4th Cir. 2001) (“The Brady duty

extends to evidence that is material to sentencing…”); United States v. King, 628 F.3d 693, 704

(4th Cir. 2011) (holding that the defendant “has made a plausible showing that [the witness’s]

grand jury testimony contained evidence material to his sentence”).




                                                  4
         Case 1:23-cr-00323-PX          Document 179         Filed 02/17/25       Page 5 of 9



         17.    Evidence is considered material under Brady “when there is a reasonable

probability that, had the evidence been disclosed, the result of the proceeding would have been

different.” Cone, 556 U.S. at 469-470. For evidence material to punishment, this requires “a

reasonable probability that these materials would have yielded a different sentence.” Basden, 290

F.3d at 613. As one court has explained about the government’s Brady obligations at the sentencing

phase:

         The Court nevertheless reminds the government of its continuing obligation to
         disclose favorable and material information to [the defendant] under Brady and
         Rule 16. Because [the defendant] cannot know with certainty what information the
         government does and does not have, the government must construe her requests for
         discovery liberally and resolve all doubts in favor of disclosure. The government
         should disclose, for example, any information that casts doubt on the extent to
         which [the defendant] knew the details of the offenses she helped to conceal, as
         well as any information that cuts against its claim that she joined the conspiracy
         with “speed and eagerness.” Finally the government must bear in mind that Brady’s
         materiality standard sweeps more broadly at the sentencing stage because the
         factors that go into determining a just and appropriate sentence are broader and
         more numerous than those that go into determining whether a defendant is legally
         guilty of the crimes charged.

United States v. Robinson, 2020 WL 1889178, at *4 (D.N.M. Apr. 16, 2020).

         18.    Here, DiNoto’s cell phone most certainly contains evidence material to the

Defendants’ sentencings. While without reviewing the contents of the phone it is impossible to

know exactly what information is on it that may be material to the sentencings, it is highly likely

that it will contain information that is relevant to at least two of the Section 3553(a) factors at issue

here: the nature and circumstances of the offense and the need to avoid unwarranted sentencing

disparities. See 18 U.S.C. § 3553(a); Dkt. 163 (Sentencing Brief on Behalf of Michael Verzaleno,

Jr.).

         19.    First, Defendants expect DiNoto’s phone could provide communications outlining

how the Defendants were actively pursued by DiNoto to join his fraudulent scheme, their

reluctance to do so, that Defendants feared the loss of all Citrus & Allied business if they did not


                                                   5
        Case 1:23-cr-00323-PX         Document 179         Filed 02/17/25       Page 6 of 9



go along with DiNoto, and that the Defendants insisted on continuing to ship real product.

Accordingly, the phone will provide important information relating to the nature and circumstances

of the offense and Defendants’ roles that will likely reduce their sentences.

        20.     Defendants expect DiNoto’s phone to also contain communications and other

information relating to his interactions with the other drum vendors who participated in his

fraudulent scheme, such as Anthony Urcioli and his brother, Robert DiNoto. This evidence will

likely show that these other drum vendors exclusively provided false shipments, issued invoices

of far greater value than Defendants, and otherwise acted in a more culpable fashion. Evidence

showing the comparable fault among the different participants in DiNoto’s fraudulent scheme

could lead to a reduction in the sentences of the Defendants here. See. Dkt. 163 at 8.

        21.     Where evidence could help reduce the sentence a court imposes, as DiNoto’s phone

here could, courts have found that evidence to be material. See King, 628 F.3d at 704 (holding that

the defendant made a plausible showing that evidence was material where the evidence “would

have materially undermined the plausibility of [a witness’s] account and thus significantly reduced

[the defendant’s] sentence”); United States v. Gregory, 983 F.2d 1069, 1992 WL 393144, *11-12

(6th Cir. 1992) (holding that “the government withheld material exculpatory information relating

to the defendants’ punishment,” where the government withheld evidence that could have

undermined the quantity of drugs involved in the crime, which would have impacted sentencing).

DiNoto’s cell phone is clearly material evidence that could impact the Defendants’ sentencing and

should have been disclosed as part of the government’s obligations under Brady. Further, the

Defendants should have the opportunity to review its contents prior to the Court imposing sentence

in this case.




                                                 6
        Case 1:23-cr-00323-PX          Document 179        Filed 02/17/25       Page 7 of 9



       22.     Likewise, Defendants must have an opportunity to understand Citrus & Allied’s

claimed loss and the methodology used to determine it. The loss claimed by Citrus & Allied is

millions of dollars greater than the loss agreed to by the parties. If Citrus & Allied seeks that

amount in restitution, which it clearly does, Defendants must have an opportunity to show the

Court why that number is wrong. To do so, Defendants need to understand how Citrus & Allied

determined its $5.6 million number, and be given sufficient time to rebut it.

       23.     Just a few days before the most important day in these prosecutions, Defendants

are without the chief cooperator’s cell phone and without basic information as to how the victim

determined its loss amount and why that amount is so significantly different from the amount

determined by the government.

       24.     A brief adjournment will provide Defendants with time to adequately prepare for

their sentencings and will not prejudice the government.



       WHEREFORE, for the foregoing reasons, Defendants Michael G. Verzaleno, Jr., Michael

G. Verzaleno, Sr., and Susan P. Carrano, through their undersigned counsel, respectfully request

that their sentencings be continued.



 Dated: February 17, 2025                    /s/ Lee Vartan
                                             Lee Vartan
                                             Melissa Wernick
                                             CHIESA SHAHINIAN & GIANTOMASI PC
                                             105 Eisenhower Parkway
                                             Roseland, NJ 07068
                                             (973) 325-1500
                                             lvartan@csglaw.com (pro hac vice)
                                             mwernick@csglaw.com (pro hac vice)

                                             George P. Varghese
                                             Benjamin Conery



                                                 7
Case 1:23-cr-00323-PX   Document 179    Filed 02/17/25    Page 8 of 9



                            WILMER CUTLER PICKERING
                               HALE AND DORR LLP
                            60 State Street
                            Boston, MA 02109
                            (617) 526-6000
                            George.Varghese@wilmerhale.com (pro hac vice)
                            Benjamin.Conery@wilmerhale.com (pro hac vice)
                            Counsel for Defendant Michael G. Verzaleno, Jr.


                            /s/ Zach Intrater
                            Zach Intrater
                            AGNIFILO INTRATER LLP
                            445 Park Avenue, 7th Floor
                            New York, NY 10022
                            (917) 721-7331
                            zach@agilawgroup.com (pro hac vice)

                            Bruce L Marcus
                            Sydney M Patterson
                            MARCUS BONSIB LLC6411 Ivy Ln Ste 116
                            Greenbelt, MD 20770
                            (301) 441-3000
                            bmarcus@marcusbonsib.com
                            spatterson@marcusbonsib.com
                            Counsel for Defendant Michael Verzaleno, Sr.


                            /s/ David M. Eskew
                            David M. Eskew
                            Jarrod Schaeffer
                            ABELL ESKEW LANDAU LLP
                            256 Fifth Avenue, 5th Floor
                            New York, NY 10001
                            (646) 970-7340
                            deskew@aellaw.com
                            (pro hac vice)

                            Evan T. Shea
                            VENABLE LLP
                            750 E. Pratt Street, Suite 900
                            Baltimore, MD 21202
                            (410)-244-7742
                            etshea@venable.com
                            Counsel for Defendant Susan P. Carrano



                               8
        Case 1:23-cr-00323-PX          Document 179      Filed 02/17/25      Page 9 of 9



                                    CERTIFICATE OF SERVICE

       I certify that, on February 17, 2025, this document was electronically filed with the Clerk

of Court using the Court’s CM/ECF system, which will then serve a notification of the filing to

the registered parties of record.



                                                                   /s/ Lee Vartan_____
                                                                    Lee Vartan




                                                9
